Case 15-40289-mxm11 Doc 2065-6 Filed 05/02/16   Entered 05/02/16 19:56:21   Page 1 of 9




            EXHIBIT E
     Case
      Case15-40289-mxm11    Doc1689-4
           15-40289-rfn11 Doc       2065-6Filed  Filed03/24/16
                                                          05/02/16 Entered     Entered03/25/16 05/02/1600:04:36
                                                                                                           19:56:21 Page
                                                                                                                     Page22ofof99
                          Prepared for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holdings, Inc.



Life Partners Debtors
Liquidation Analysis
Modified Balance Sheet as of 12/31/2015                                                                    8/14/2015              8/14/2015
(000's)                                                                                                    12:17 PM               12:17 PM

                                                                                  Unaudited
                                                                           Note   Book Value      %      Scenario 1      %      Scenario 2
Sources of Funds
ASSETS
Cash                                                                        a1
          Checking                                                                    $1,076    100.0%       $1,076    100.0%       $1,076
          Premium Escrow                                                              72,748    100.0%       72,748     0.0%             -
          Maturities Escrow                                                           62,671    100.0%       62,671     0.0%             -
Total Cash                                                                           136,495    100.0%      136,495     0.8%         1,076

Accounts Receivable                                                         a2
         Accounts Receivable - Servicing Fees                                          3,066    25.0%           766    10.0%           307
         Premium Advance - Unpurchased policy                                            102    60.0%            61    50.0%            51
         Premium Advances                                                             14,966     6.7%         1,000     3.3%           500
Total Receivables                                                                     18,134    10.1%         1,828     4.7%           858

Prepaid, Deposits, Other                                                    a3
         Prepaid Expenses                                                                591       0%             -       0%             -
Total Current & Other Assets                                                             591     0.0%             -     0.0%             -

Policy Portfolio Assets                                                     a4
         Proceeds - Senior Policies                                                2,054,638    19.0%       390,000     0.0%             -
         Proceeds - Viatical Policies                                                263,974     3.8%        10,000     0.0%             -

Fixed Assets, at Cost                                                       a5
         Land And Building                                                                 -     0.0%             -     0.0%             -
         Software                                                                      1,031     0.0%             -     0.0%             -
         Furniture, Fixtures & Equipment                                               1,062    10.0%           106     5.0%            53
         Automobile                                                                       10    42.2%             4    20.4%             2
Total Policy Portfolio and Fixed Assets                                            2,320,714    17.2%       400,110     0.0%            55

Other Assets                                                                a6
         Other                                                                         4,632       0%             -       0%             -
Total Other Assets                                                                     4,632     0.0%             -     0.0%             -

Total Assets                                                                      $2,480,566    21.7%      $538,433     0.4%        $1,989

Available to Pay Expenses & Liabilities                                                                    $538,433                 $1,989

Uses of Funds

LIABILITIES AND EXPENSES

Chapter 7 & Superpriority Administrative Claims                             b1
         Chapter 7 Trustee Fees                                                                             (16,153)                   (60)
         Chapter 7 Professional Fees                                                                       (170,382)                  (149)
         Wind-Down Operating Costs                                                                           (2,896)                (5,556)
         Premium Expense                                                                                    (50,660)                     -
         DIP Financing - Maturities Facility                                                                      -                (14,866)
Total Liquidation & Administrative Costs                                                                   (240,092)               (20,630)

Chapter 11 Administrative Claims                                            b2
         Outstanding Chapter 11 Payables                                                                       (472)                     -
         Chapter 11 Residual Professional Fees                                                              ($3,000)                     -
Total Liquidation & Administrative Costs                                                                     (3,472)                     -

          Funds Available for Priority Claims                                                              $294,869               ($18,641)

Priority Claims (and Surcharge)                                             b3

          Surcharge to Cover Administrative Costs & DIP Financing                                                                  $18,641

          Estimated Priority - Taxes                                                  (6,642)                (3,321)                     -

          Available for Unsecureds and Litigation Expense   (Funds From Estate)                            $291,548                     $0
     Case
      Case15-40289-mxm11    Doc1689-4
           15-40289-rfn11 Doc       2065-6Filed  Filed03/24/16
                                                          05/02/16 Entered     Entered03/25/16 05/02/1600:04:36
                                                                                                           19:56:21 Page
                                                                                                                     Page33ofof99
                          Prepared for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holdings, Inc.



Life Partners Debtors
Liquidation Analysis
Modified Balance Sheet as of 12/31/2015                                                              8/14/2015         8/14/2015
(000's)                                                                                              12:17 PM          12:17 PM

                                                                                  Unaudited
                                                                           Note   Book Value   %   Scenario 1    %   Scenario 2

Amounts Transferred To and From Investors                                  b4

          Add Back Escrow Funds Transferred to Investors                                                    -           135,419
          Add Back Proceeds - Senior Policies                                                               -           153,487
          Add Back Proceeds - Viatical Policies                                                             -             2,703
          Payment of Maturity Funds Facility                                                                             14,866
          Surcharge to Cover Administrative Costs & DIP Financing                                                      ($18,641)

          Total Funds Available   (Including if Funds Outside of Estate)                             $291,548          $287,833

NOTES:
See Accompanying Liquidation Notes.
          Case
           Case15-40289-mxm11    Doc1689-4
                15-40289-rfn11 Prepared
                               Doc      2065-6Filed Filed03/24/16
                                                             05/02/16 Entered  Entered03/25/16 05/02/1600:04:36 19:56:21 Page
                                                                                                                          Page44ofof99
                                        for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holdings, Inc.



Life Partners Debtors
Liquidation Analysis - Notes
General
                                          The accompanying Global Notes are an integral part of the financial information and exhibits included with
                                          the Debtors' Amended Plan of Reorganization and Disclosure Statement, which should be read together
                                          with the financial information and exhibits included therein. References to the company in the financial
                                          exhibits include all of the Debtors or the Successor Entities (other than the Creditors' Trust) as the context
                                          requires.
                                          As discussed in the proposed Plan and Disclosure Statement, equitable or beneficial ownership of the
                                          policies has not been adjudicated. While certain consensus has been reached during pendency of the
                                          chapter 11, if the Debtors were to convert to chapter 7, the impact of the consensus would have been lost.
                                          Significant time and litigation costs would be required to resolve ownership. The policy portfolio likely
                                          would sustain significant lost value and lapsed policies in the first few months of any liquidation. Certain
                                          policy assets may be available to a liquidation trustee to be sold, pooled or liquidated over time.
                                          Alternatively, access to policy assets by the trustee could be restricted, in favor of investors, or during
                                          pendency of litigation to resolve ownership.

Sources & Uses of Funds:
a1    Cash
         Checking                         Cash balance as of December 31, 2015

                                          Premium escrows could be pooled to pay portfolio premiums, could be required to be segregated, or could
                                          be available to fund general liquidation costs. (Also see "Premium Expense" note below.) Maturity escrows
                                          similarly could be deemed property of the estate and available to fund liquidation of the assets, or could be
          Cash From Escrow Accounts
                                          determined to belong to specific holders of matured policies. The premium escrow amount is as of
                                          12/31/2015, and will be reduced by usage of escrow funds to cover premiums due after that date. The
                                          maturities escrow amount is as of 12/31/2015, including deductions applied to the Maturity Funds Facility.


a2    Receivables
      Accounts Receivable - Servicing Balance as of 12-31-2015, includes older amounts related to the initial Sept 2014 billing as well as current
      Fees                            amounts. Current amounts are given a higher collection value.
      Premium Advance - Unpurchased
                                      Company has been pursuing collection, and expects to collect a discounted amount.
      policy
                                          Estimated as of 12-31-15. Represents premiums advanced by the Company for which reimbursements have
                                          not yet been received. Approximately $13MM is stale and likely not collectible. While policies would be
      Premium Advances
                                          subject to a lien for company advanced premiums, these policies may lapse or be sold prior to realization of
                                          death benefits.

                                          Certain post-petition deposits may be subject to recovery. Assumes in a shut down there will be post-
      Prepaid
a3                                        petition unpaid amounts that will offset the deposits.
a4    Policy Portfolio Assets
                                          Estimated value of orderly sale of portfolio, including any value for CSV, and interim losses in value due to
                                          policy lapse in a liquidation scenario. Estimated recovery amounts are before further discounting for risks
      Sale Proceeds - Senior Policies     related to resolution of ownership; see general note above. Scenario 2 has excluded any maturities on
                                          Company-owned positions, because the related policies are "distressed" and will likely lapse before
                                          maturity in a liquidation.

                                          Estimated value of orderly sale of portfolio, including any value for CSV, and interim losses in value due to
                                          policy lapse in a liquidation scenario. Viaticals have less value and generally have little if any premium
      Sale Proceeds - Viatical Policies   escrow or CSV. Estimated recovery amounts are before further discounting for risks related to resolution of
                                          ownership; see general note above. Scenario 2 has excluded any maturities on Company-owned positions,
                                          because the related policies are "distressed" and will likely lapse before maturity in a liquidation.



                                          Scenario 2 for portfolio assets assumes that those assets are not considered to be part of the estate, so
                                          these recoveries are not included in the Amounts Available to pay Expenses and Liabilities, but are instead
                                          added back to Total Funds Available (Including Funds Outside of Estate) at the bottom of this exhibit. This
                                          scenario assumes it was not possible to sell the portfolio in liquidation because of the ownership issues, no
                                          funds were available to pay premiums, and all policies related to positions held by the estate lapsed before
                                          they matured. Accordingly, the only proceeds from the portfolio included are maturity proceeds from
                                          policies with sufficient CSV to keep them in force, and policies with no required premiums payable, until
      Scenario 2
                                          their projected maturity dates. Policies in premium-paying status would lapse after the next premiums
                                          became due. Additional recoveries might be available for policies with available premium escrow funds, if
                                          premium tracking and remittance were handled by the estate. The projected maturity proceeds would not
                                          be property of the estate, and are reflected in the lines for “Add Back Proceeds – Senior Policies” and “Add
                                          Back Proceeds – Viatical Policies.” Because these maturity proceeds would come from discrete policies
                                          related to positions held by specific investors, they would not be shared by all investors, rather, only those
                                          who held the relevant positions. See related notes at Amounts Transferred To and From Investors below.
        Case
         Case15-40289-mxm11    Doc1689-4
              15-40289-rfn11 Prepared
                             Doc      2065-6Filed Filed03/24/16
                                                           05/02/16 Entered  Entered03/25/16 05/02/1600:04:36 19:56:21 Page
                                                                                                                        Page55ofof99
                                      for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holdings, Inc.



Life Partners Debtors
Liquidation Analysis - Notes

a5   Fixed Assets
     Software                           Value of organic company developed software is likely not recoverable in a liquidation.

     Machinery And Equip                Remaining furnishings would likely be sold at auction or online and produce limited value.

     Automobile                         Kelly Blue Book value of automobile, as of 12-11-15 and based on current condition.

a6   Other Assets (NOL, net)            It is unlikely any value could be monetized from NOL's, or sale of the public company shell.

b1   Chapter 7 & Superpriority Administrative Claims

     Chapter 7 Trustee Fees             Estimate 3% of amount available for distribution.

                                        Liquidation trustee will need to engage counsel to evaluate and pursue multiple claims, including
                                        preferences, fraudulent transfer, and ownership issue. Fees estimated at 7.5% of realized asset value (non-
     Chapter 7 Professional Fees
                                        portfolio assets), and 40% of realized portfolio asset value, assuming this litigation would be assigned to
                                        contingency fee counsel due to lack of available cash. Any litigation recoveries have not been estimated.

                                        Estimated 6 - 12 months of operating costs for staff to assist in liquidation and monetization of assets,
     Wind-down Operating Costs
                                        claims resolution and wind-up of business.

                                        Premiums for 0 - 12 months, excluding premium escrows noted above, which may or may not be available
     Premium Expense
                                        to reduce premiums, dependent upon ownership factors. (Also see note above "Premium Escrows".)


                                         Includes the total amount borrowed from maturity funds facility as of 12/31/2015, plus accrued interest. In
     DIP Financing - Maturities Facility scenario 1, it is assumed that the Debtors prevailed on the ownership issue and, therefore, there is no
                                         requirement to pay back those funds to investors.


b2   Chapter 11 Administrative Claims
                                        Balances as of 12/31/2015. In scenario 2, these amounts would only be paid if litigation recoveries are
     Outstanding Chapter 11 Payables
                                        received.

     Chapter 11 Residual Professional   Remaining accrued and unpaid balances as of 12/31/2015. In scenario 2, these amounts would only be paid
     Fees                               if litigation recoveries are received.

b3   Priority Claims (and Surcharge)


                                        In scenario 2, the only available source to pay administrative costs and DIP Financing – Maturities Facility
     Surcharge to Cover                 would be the Add Back amounts described above, and scenario 2 assumes this would be the source for
     Administrative Costs & DIP         payment. Because the Add Back amounts would not be shared by all Investors (i.e., only those positions
     Financing                          relating to the relevant policies), only those investors would bear any surcharge approved to pay
                                        administrative costs and repay the DIP Financing.

                                        Texas Comptroller and IRS tax claims, including interest; subject to dispute. Scenario 1 assumes a reduction
     Priority Claims
                                        in the claim. In scenario 2, this claim would only be paid if litigation recoveries are received.


b4   Amounts Transferred To and From Investors
     Add Back Escrow Funds
                                        The total amount of funds in the premium escrow and maturities escrow shown above.
     Transferred to Investors

     Add Back Proceeds - Senior
                                        See the scenario 2 note in the Policy Portfolio Assets section above.
     Policies

     Add Back Proceeds - Viatical
                                        See the scenario 2 note in the Policy Portfolio Assets section above.
     Policies

     Surcharge to Cover
     Administrative Costs & DIP         See note above, in Priority Claims (and Surcharge)
     Financing
Case
 Case15-40289-mxm11   Doc1689-4
      15-40289-rfn11 Doc  2065-6Filed
                                 Filed03/24/16
                                       05/02/16 Entered
                                                 Entered03/25/16
                                                         05/02/1600:04:36
                                                                  19:56:21 Page
                                                                            Page66ofof99




       Prepared for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holding, Inc.
                          Subject to Further Review and Revision


  Life Partners Debtors
  Global Notes to Financial Information - Amended Plan & Disclosure Statement

  THE GLOBAL NOTES ARE AN INTEGRAL PART OF THE FINANCIAL INFORMATION
  AND EXHIBITS INCLUDED WITH THE DEBTORS’ AMENDED PLAN OF
  REORGANIZATION AND DISCLOSURE STATEMENT, WHICH SHOULD BE READ
  TOGETHER WITH THE FINANCIAL INFORMATION AND EXHIBITS CONTAINED
  THEREIN. SPECIFIC REFERENCE IS MADE TO THE DISCLAIMER INCLUDED IN
  THE DISCLOSURE STATEMENT.

  The following notes are applicable to the attached projections in all respects, unless specifically
  noted otherwise therein:

  GENERAL

  1.      Projections are based on information supplied by the Debtors or from sources believed to
  be reliable and have not been independently verified. Assumptions are subject to further review
  & revision.

  2.       Assumes Plan confirmation and an Effective Date of 7-31-16.

  3.     A key Plan element provides that Fractional Interest Holders may elect to opt-in to a
  post-confirmation Position Holder Trust, where they pay no further premiums or servicing fees
  and receive periodic cash distributions, or may elect to opt-out as a Continuing Fractional
  Holder, where they continue to pay their own premiums, a servicing fee of 3% of maturities, and
  make a 5% contribution to the Position Holder Trust.

  4.     Plan funding is financed by the Maturity Funds Facility. The Debtors, or Position Holder
  Trust Trustee, may elect to seek other funding, including exit financing, in their business
  judgement, as provided in the Plan or Position Holder Trust Agreement.

  5.      Assumes current maturities (received and pending, as of 2/28/2016) of approximately $99
  million, reduced for Maturity Funds Facility borrowings of $17 million (net balance of $82
  million), and an estimated additional $12 million/month of maturities through end of July 2016,
  reduced for an additional $8 million of Maturity Funds Facility borrowings as of the Effective
  Date. The resulting total Effective Date maturities balance (including pending receipts) is
  projected to be $157 million, less the Maturity Funds Facility balance of $25 million, or a net
  balance of $132 million), of which 5% will be contributed to the Position Holder Trust.
  Premium escrow balances are approximately $70 million.

  6.     Excess cash flow from the Position Holder Trust is distributed to investors who opt-in
  and have a Position Holder Trust Interest, subject to calculations and offsets set forth in the Plan
  and Disclosure Statement.

                                                   1
  522202 000003 16653476.2
Case
 Case15-40289-mxm11   Doc1689-4
      15-40289-rfn11 Doc  2065-6Filed
                                 Filed03/24/16
                                       05/02/16 Entered
                                                 Entered03/25/16
                                                         05/02/1600:04:36
                                                                  19:56:21 Page
                                                                            Page77ofof99




  7.    Professional fees subsequent to July 2016, Creditors’ Trust recoveries and expenses, and
  any IRA Partnership expenses are not included.

  8.      Assumes 80% of Viatical policy investors opt-in to the Position Holder Trust, and 20%
  opt-out, and that 40% of Senior/Life Settlement policy investors opt-in to the Position Holder
  Trust, and 60% opt-out.

  9.      Assumes the majority of IRA Holders will opt-in to the Position Holder Trust, and only
  5% of IRA Holders will elect to become Continuing IRA Holders, receiving New IRA Notes.
  New IRA Note calculations are based upon the following assumptions: The principal value of the
  New IRA Notes is estimated to be 29% of the fractional face value of the related positions; the
  interest rate is 3% paid annually, assuming sufficient cash flow; the principal balance is paid in a
  lump sum at maturity, 15 years after the Effective Date.

  10.    Assumes the servicing business is not sold to a third party, and operations are continued
  under Newco and the Reorganized Debtor.

  POLICY PORTFOLIO

  11.     Senior mortality - Probabilistic and stochastic modeling was based on the Society of
  Actuaries’ 2015 VBT NS ALB at a mortality multiplier of 160% for males and 90% for females,
  using the table at the insured’s age in the month of the earliest policy purchased.

  12.     Viatical mortality – Probabilistic and stochastic modeling was based on the Society of
  Actuaries’ 2015 VBT NS ALB at a mortality multiplier of 500% for males and females, using
  the table at the insured’s age in the month of the earliest policy purchased.

  13.    Mortality improvement – Annual mortality improvement, based on US population data
  from 1985 – 2010 was applied by gender on an attained age basis.

  14.     Mortality multiplier wear off – Initial mortality multipliers greater than one were worn
  off to 1.00 by age 100. One half of the wear off was completed by the time the insured attained
  an age that was half-way between their age on December 1, 2015 and age 100. Initial multipliers
  less than one were not worn off or altered in any way going forward.

  15.   Premium streams – In order of preference, identified below are the relevant categories of
  premium stream information available and the assumptions thereon:

           a. Level Premium Policies - Whole life policies require level premium payments each
           period, which were determined based on information provided by the Debtors;

           b. 3rd Party Optimization Completed - The Debtors enlisted independent firms to produce
           optimized premium streams using proprietary methods; these premium streams were relied
           upon;

           c. Level Premium to Maturity Illustrations - Certain illustrations provided by the Debtors
           were used showing level premiums that would fund the policy to maturity;


                                                   2
  522202 000003 16653476.2
Case
 Case15-40289-mxm11   Doc1689-4
      15-40289-rfn11 Doc  2065-6Filed
                                 Filed03/24/16
                                       05/02/16 Entered
                                                 Entered03/25/16
                                                         05/02/1600:04:36
                                                                  19:56:21 Page
                                                                            Page88ofof99




           d. Short Term Optimized Streams - The Debtors calculated up to two years of future
           premiums, which were used in the model. The percentage increase in the premium from
           year one to year two was used to calculate future premium increases until maturity, subject
           to an annual cap of 20%;

           e. Disability Waived Premiums to Age 65 - No premiums were specified as they had been
           waived to age 65. After age 65, premiums produced from a study of actual annual
           premiums on a portfolio of owned whole life policies were used;

           f. Level Term Policies – The level premium specified was used until age 65, and then the
           premiums calculated in the previous step for ages beyond 65;

           g. Current Premium Only – Where only a single premium was available, it was used for
           the first year. Subsequently, the premium was increased by 9% each year, consistent with
           the average increase in mortality rates of the 2001 CSO mortality table, which was
           commonly used in contemporaneous policies to set maximum mortality rates;

           h. No Information Available – An age band based premium stream was developed from a
           study of a portfolio of owned policies. It increased every 5 years until age 65, and
           subsequently the level whole life premium developed above was used until maturity, which
           was assumed to be age 100.

  OPERATIONS

  16.     The full 12 month projection for 2016 is shown, including amounts paid and received
  before the projected Effective Date of the Plan. The tail projection for years beyond 2045 has
  been omitted.

  17.    Assumes only a limited amount of overdue receivables will be collected from Continuing
  Fractional Holders (opt-out Investors) as cure payments.

  18.     Subject to further negotiation and Court approval, a reserve has been created in these
  projections for proposed compensation to the Class Action Counsel and Chapter 11 Trustee (for
  his service in all of the fiduciary capacities in which he has served in connection with the
  Debtors’ bankruptcy cases).

         The Class Action Litigants’ Counsel Fees are proposed to be paid out of $33 million in
  maturities on assigned Pre-Petition Abandoned Positions. The present value of the projected
  maturities cash flow at a 20% discount rate is $5.2 million.

         The Chapter 11 Trustee fee is proposed to be paid out of $16 million in maturities on
  assigned Pre-Petition Abandoned Positions, plus an amount equal to a 0.5% fee on all maturities
  from the Beneficial Ownership held by the Position Holder Trust, which amount is projected to
  be paid or reimbursed from abandoned positions. The present value of the projected cash flow at
  a 20% discount rate is $5.2 million, and it is projected that maturities from Pre-Petition
  Abandoned Positions remaining in the Position Holder Trust would be sufficient to pay (or
  reimburse) the share of maturities paid to the Chapter 11 Trustee.


                                                    3
  522202 000003 16653476.2
Case
 Case15-40289-mxm11   Doc1689-4
      15-40289-rfn11 Doc  2065-6Filed
                                 Filed03/24/16
                                       05/02/16 Entered
                                                 Entered03/25/16
                                                         05/02/1600:04:36
                                                                  19:56:21 Page
                                                                            Page99ofof99




         Determination of the actual amount of the proposed compensation may not occur until
  Plan confirmation. The proposed compensation structure could be modified to include a
  combination of cash and abandoned positions, but is not anticipated to exceed the present value
  amounts noted above. Confirmation of the Plan does not grant an allowance of such
  compensation, and is without prejudice to any parties in interest position with respect to such
  proposed compensation. Such amounts have not been agreed to by either the Committee or the
  Plan Supporters and, in any event, would be subject to, among other things, Court approval.

  19.    A reserve fund is to be established for the Position Holder Trust sufficient to cover 120
  days of premium payments.

  20.    The Position Holder Trust shall provide initial funding and capitalization of the
  Creditors’ Trust and Newco.

  21.    Assumes Continuing Fractional Holders (opt-out Investors) will have the following
  Payment Default rates per year (the related Continuing Fractional Positions will be transferred to
  the Position Holder Trust pool):

  2016 0.5%
  2017 0.5%
  2018 15%
  2019 20%
  2020 25%
  2021 through 2045 30%




                                                  4
  522202 000003 16653476.2
